                     IN THE UNITED STATE DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION


UNITED STATES OF AMERICA,


V.                                           CRIMINAL ACTION NO. 2:21-cr-00062-1

LARRY ALLEN CLAY, JR.,

       DEFENDANT.


            MOTION TO CONTINUE SENTENCING HEARING AND
     DEADLINE TO SUBMIT SUPPLEMENTAL SENTENCING MEMORANDUM


       Now comes Defendant, Larry Allen Clay, Jr., by his undersigned counsel, Timothy J.

Lafon, and moves this Court for an Order continuing the Sentencing Hearing set for September

12, 2024 at 1:30 p.m. and the deadline of September 5, 2024 to submit Supplemental Sentencing

Memorandum. In support of this motion, Defendant states as follows:

       1.      Defense counsel was appointed to this case after the trial concluded and after post-

trial motions were filed and ruled upon.

       2.      Defendant discharged his counsel after said time and the undersigned counsel was

appointed by the Court pursuant to the CJA Panel.

       3.      Defense counsel has had some substantial health issues and follow up from the

same continues to this day and will interfere with preparing for the present Sentencing hearing.

       4.      Defense counsel believes that the post-trial motions were deficient as a result of a

conflict of interest between the Defendant and his prior counsel.
       5.      Transcripts from the previous proceedings of this matter covered four (4) days of

trial and years of motions and other hearings.

       6.      It has taken considerable time to go through these items.

       The Defendant moves this Honorable Court for an extension of approximately thirty (30)

to forty-five (45) days due to the Defense counsel’s health situation and in order to insure that

Defense counsel is properly prepared to be effective at the Sentencing hearing and any other

motions that are necessary and for such other relief as the Court deems appropriate.



                                                    LARRY ALLEN CLAY, JR.

                                                    By Counsel,



CICCARELLO, DEL GIUDICE & LAFON



By: /s/ Timothy J. LaFon
  Timothy J. LaFon (WV #2123)
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  Charleston, West Virginia 25301
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  Counsel for Defendant
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                               CERTIFICATE OF SERVICE

I, Timothy J. LaFon, do hereby certify that the foregoing “MOTION TO CONTINUE

SENTENCING         HEARING       AND     DEADLINE       TO    SUBMIT   SUPPLEMENTAL

SENTENCING MEMORANDUM” has been served upon all parties via the Court’s electronic

filing system on the 29th day of August, 2024

                      Jennifer Rada Herrald, Assistant U.S. Attorney
                      U.S. Attorney’s Office
                      300 Virginia Street, East, Room 400
                      Charleston, West Virginia 25301



CICCARELLO, DEL GIUDICE & LAFON


By: /s/ Timothy J. LaFon
  Timothy J. LaFon (WV #2123)
  Counsel for Defendant
